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     Diamond Comics Distributors, Inc                                                               Case No. 25-10308
     Balance Sheet                                                                                             Mar-25

                                                                                                 Consolidated
                                                                                                Diamond Comic
                                                                                                Distributors, Inc
     Assets
     Current Assets
      Cash and cash equivalents                                                                                 591,181
      Accounts Receivable, net                                                                               26,650,294
      Inventory                                                                                              23,560,722
      Other Receivables                                                                                       8,095,636
      Prepaids & Deposits                                                                                    23,888,327
      Note Receivable                                                                                           475,239
     Total Current Assets                                                                                    83,261,399

   Non-Current Assets
    Fixed Assets, net                                                                                        2,648,917
    Security Deposits                                                                                           99,832
[2] Investment in Subsidiary                                                                                10,044,810
    Intangibles Assets, net                                                                                  5,847,431
   Total Non-Current Assets                                                                                 18,640,990
   Total Assets                                                                                            101,902,389

   Liabilities
   Liabilities Not Subject to Compromise
    Accounts Payable                                                                                         11,825,270
[1] DIP Financing (Postpetition)                                                                             41,271,204
   Total Liabilities Not Subject to Compromise                                                               53,096,474

     Liabilities Subject to Compromise
      Prepetition Secured Debt                                                                                                 -
      Prepetition Priority Debt                                                                                604,284
      Prepetition Unsecured Debt                                                                            47,932,331
     Total Liabilities Subject to Compromise                                                                48,536,615
     Total Liabilities                                                                                     101,633,089
     Total Equity                                                                                              269,300

[1] Pursuant DIP financing order, the Company’s prepetition revolving credit facility is being repaid on a dollar-for-dollar
    basis through the use of cash collateral, while a corresponding amount is drawn under the DIP facility. The
    prepetition revolving credit facility was fully paid down as of 2/28/25
[2] Represents the Company’s controlling equity interests in Comic Exporters, Inc. and Comic Holdings, Inc., which
    together own 100% of Diamond UK. The Company holds 100% of both U.S. entities.
